          Case 24-33353 Document 16 Filed in TXSB on 07/31/24 Page 1 of 2




AKERLY LAW PLLC
Bruce W. Akerly
Texas Bar No. 00953200
2785 Rockbrook Drive, Suite 201
Lewisville, TX 75067
(469) 444-1878 Main
(469) 444-1864 Direct

COUNSEL FOR RCW ENERGY SERVICES, LLC
                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 IN RE:                                              §
                                                     §
 BARROW SHAVER RESOURCES                             §              CASE NO. 24-33353-
 COMPANY, LLC,                                       §
                                                     §              Chapter 7
                 Debtor.                             §


                                  NOTICE OF APPEARANCE
        Bruce W. Akerly and Akerly Law PLLC, 2785 Rockbrook Drive, Suite 201, Lewisville,

TX 75067 hereby appear as counsel of record for RCW ENERGY SERVICES, LLC in the above

styled and referenced bankruptcy proceedings and request that all papers served or required to be

served in the action or brought before the Court in the action, whether formal or informal, or

transmitted or conveyed by first class mail, electronic mail, hand or overnight delivery, telephone,

telegraph, telecopy, or telex, be given to and served upon counsel for all parties.

        Creditor requests that the Debtor and Clerk of the Court place the names and addresses of

the newly designated counsel on any mailing matric or list of creditors to be prepared or existing

in the action.




NOTICE OF APPEARANCE – Page 1
        Case 24-33353 Document 16 Filed in TXSB on 07/31/24 Page 2 of 2




Date: July 31, 2024.                         Respectfully submitted,

                                             AKERLY LAW PLLC
                                             By:    /s/ Bruce W. Akerly
                                                    Bruce W. Akerly
                                                    Texas Bar No. 00953200
                                                    bakerly@akerlylaw.com

                                             2785 Rockbrook Drive, Suite 201
                                             Lewisville, TX 75067
                                             (469) 444-1878 Main
                                             (972) 444-1801 Fax

                                             COUNSEL FOR CREDITOR RCW ENERGY
                                             SERVICES, LLC


                                CERTIFICATE OF SERVICE
        The undersigned certifies that he caused a true and correct copy of the foregoing pleading
to be served on all parties receiving ECF notices in the Case through the Court’s ECF notification
system on July 31, 2024, or via USPS.


                                                    /s/ Bruce W. Akerly
                                                    Bruce W. Akerly




NOTICE OF APPEARANCE – Page 2
